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VAN−063 Order Dismissing Case − Rev. 03−11−2003

                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                                   Wilmington Division

IN RE:
Alisa D Copeland                                            CASE NO.: 16−04735−5−SWH
2565 Bell Williams Road
Burgaw, NC 28425                                            DATE FILED: September 9, 2016

                                                            CHAPTER: 13




                                                  ORDER OF DISMISSAL

The court finds that Alisa D Copeland has/have failed to comply with the provisions of the confirmed
chapter 13 plan or to obtain confirmation of a plan. Cause exists to dismiss this case as to this debtor(s).
Should Alisa D Copeland file another petition within one year, the automatic stay may be limited to 30 days
or may not go into effect absent a motion and order imposing or extending the automatic stay. Now
therefore,

IT IS ORDERED that this case is dismissed as to Alisa D Copeland and all funds held by the trustee shall
be disbursed to the appropriate parties as required by the Bankruptcy Code, Federal Rules of Bankruptcy
Procedure and the local rules of this court.

DATED: April 17, 2019

                                                                Stephani W. Humrickhouse
                                                                United States Bankruptcy Judge
